 

Case 1:13-cr-00445-GBD Document 29 Filed 11/15/21 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

we eee eee eee eee ee ee ee ee eee eee X
UNITED STATES OF AMERICA,
; ORDER
-against-
JEFFREY BOLDEN, 13 Crim. 445 (GBD)
Defendant.
we ee ee ee ee ee ee x

GEORGE B. DANIELS, United States District Judge:
The conference scheduled for November 17, 2021 is adjourned to December 1, 2021 at

9:30 a.m.

Dated: New York, New York
November ~ 2021
tee Gu éuri SO ORDERED.

RGE/Q. DANIELS
United States District Judge

 
